Case 15-11880-BLS   Doc 816-4   Filed 02/19/16   Page 1 of 3




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                        Case 15-11880-BLS           Doc 816-4        Filed 02/19/16       Page 2 of 3

                                                            EXHIBIT C-1

                                                             BUDGET
If the parties consent or the court so directs, a budget approved by the client in advance should generally be
attached to each interim and final fee application filed by the applicant. If the fees sought in the fee
application vary by more than 10%from the budget, the fee application should explain the variance. See
Guidelines ¶ C.8. for project category information.
                                       PA07E[T ~~1T~fQFtY                         ESTIMATEQ HOURS          ESTIMA7EI~ SEES -.
               Asset Analysis and Recovery
               Asset Disposition
               Assumption and Rejection of Leases and Contracts                                   30.00            $20,000.00
               Avoidance Action Analysis
               Budgeting (Case)                                                                    5.00              $5,000.00
               Business Operations
               Case Administration                                                                80.00            $25,000.00
               Claims Administration and Objections                                               30.00            $25,000.00
               Corporate Governance and Board Matters
               Employee Benefits and Pensions
               Employment and Fee Applications                                                    10.00              $5,000.00
               Employment and Fee Application Objections
               Financing and Cash Collateral
               Litigation: Contested Matters and Adversary Proceedings(not otherwise within a specific project category)
               identify each separately by caption and adversary number,or title of motion or application and docket number
   DeEete      Bankruptcy Litigation                                                              60.00            $45,000.00
    Add        Click Add button to add a litigation entry
               Meetings and Communications with Creditors
               Non-Working Travel
               Plan and Disclosure Statement                                                        5.00             $5,000.00
               Real Estate
               Relief from Stay and Adequate Protection                                           30.00            $20,000.00
               Reporting
               Tax
               Valuation
               TOTAL                                                                             250.00           $150,000.00




Case Name:                 Quiksilver, Inc.
Case Number:               15-11880(BLS)
Applicant's Name:          Pachulski Stang Ziehl &Jones LLP
Date of Application        02/19/2016
Interim or Final:          Interim

UST Form 11-330-C (2013)
                                                                         EXHIBIT C-2

                                                                   STAFFIfVG PLAN


If the parties consent or the court so directs, a staffing plan approved by the client in advance should generally be attached to each interim and
final fee application filed by the applicant. If the fees are sought in the fee application for a greater number of professionals than identified in the
staffing plaru, the fee application shou{d explain the variance.

                                                                                 EUU~BER D€ TttViEKEEPERS EXPECTEQ
                                  CATEGCIRY C)F 7'IMEKEE~+E6i;                    TC3 WCfRK(3N THE M#~TTER DURING         l~A1lERAGE H~JI.fRtY RATE
                            (using ca#egories mair►tained by the firm)                   THE BUDGET PERt(7L3
      delete ` '' Partner                                                                                             6                               $92'1.27

     fleEete        Of Counsel                                                                                        2                               $727.65
                                                                                                                                                                 Case 15-11880-BLS




      t3~l~te       Associate                                                                                         1                               $395.00

      i?eEet~       Paralegal                                                                                         4                               $302.34

      ~~lete        Case Management Assistant                                                                         5                               $225A0
                                                                                                                                                                 Doc 816-4




       Add          Click Add button to add an additional timekeeper category

~ As an alternative,firms can identify attorney timekeepers by years of experience rather than category of attorney
timekeeper: Q-3,4-7,8-14, and i S+. Non-attorney timekeepers,such as paralegals,should be identified by category.
                                                                                                                                                                 Filed 02/19/16
                                                                                                                                                                 Page 3 of 3




Case Name:                  Quiksilver, Inc.
Case Number:                15-11880(BLS)
Applicant's Name:           Pachulski Stang Ziehl &Jones LLP
Date of Application:        02/19/2016
Interim or Final:           Interim

 UST Form 11-330-C {2013)
